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   IT IS ORDERED as set forth below:



    Date: May 13, 2021
                                                           _________________________________

                                                                    Barbara Ellis-Monro
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________

                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                       )       CASE NO. 19-61102-BEM
                                             )
JACK DEAN DEWEESE, JR.,                      )       CHAPTER 7
                                             )
         Debtor.                             )
                                             )

              ORDER GRANTING TRUSTEE'S MOTION FOR FEDERAL
        BANKRUPTCY RULE 2004 EXAMINATION OF JENNIFER JONES DEWEESE

         The motion of Jordan E. Lubin, Chapter 7 Trustee (“Movant”) for an order authorizing the

examination of Jennifer Jones DeWeese pursuant to Rule 2004 having been read and considered,

it is

         ORDERED that the motion is GRANTED to permit that examination in accordance with

Fed. R. Bankr. R. 2004(b) at a mutually agreed time and place. If attendance cannot be obtained

voluntarily, Movant may compel attendance as provided in Fed. R. Bankr. P. 2004(c).

         IT IS FURTHER ORDERED that Movant Trustee is hereby authorized to pay a witness




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fees and mileage in connection with the service of any subpoena, a reasonable court reporting fee

and any other actual and necessary expenses incurred in connection with the examination.


                                    [END OF DOCUMENT]

PREPARED AND PRESENTED BY:

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